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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )              8:09CR411
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
ARNEL KNIGHT,                                     )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion for an extension of time by defendant
Arnel Knight (Knight) (Filing No. 20). Knight seeks until January 22, 2010 in which to file
pretrial motions in accordance with the progression order. Knight has filed an affidavit
wherein he consents to the motion and acknowledges he understands the additional time
may be excludable time for the purposes of the Speedy Trial Act. Knight's counsel
represents that government's counsel has no objection to the motion. Upon consideration
and for good cause shown, the motion will be granted.


       IT IS ORDERED:
       Defendant Knight's motion for an extension of time (Filing No. 20) is granted. Knight
is given until on or before January 22, 2010, in which to file pretrial motions pursuant to
the progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between December 21, 2009
and January 22, 2010, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel requires
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 21st day of December, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
